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Judgment from Cityscape Corp. a/k/a Cityscape Mortgage Corp.(52804-11)

BY: /s/ Keith A. Bonchi
KEITH A, BONCE#IEL ESQ. (KABI664)

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

CHEROKEE SOLUTIONS, INC.

as Assignee of Judgment from : Hon. Katharine 8. Hayden, U.S.D.J.

Cityscape Corp. a/k/a Cityscape :

Mortgage Corp. > Civil Action No. 2:01-mc-00021-KSH
Plaintiff,

v.

WALSH SECURITIES CORP. : STATEMENT OF COUNSEL

THAT NO BRIEF IS NECESSARY
Defendant.

Plaintiff, Cherokee Solutions, Inc. as Assignee of Judgment from Cityscape Corp. a/k/a
Cityscape Mortgage Corp. has not filed a brief in support of the Notice of Motion to Confirm
Marshals Sale because there does not appear to be any legal or factual issue in dispute.

GOLDENBERG, MACKLER, SAYEGH, MINTZ,
PFEFFER, BONCHI & GILL

BY:

KEITH A. BONCHI, ESQUIRE

Dated: April b , 2006
